Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 1 of 7 Page ID #:1



 1 TRINETTE G. KENT (State Bar No. 222020)
 2 3219 E Camelback Road, #588
   Phoenix, AZ 85018
 3 Telephone: (480) 247-9644
 4 Facsimile: (480) 717-4781
   E-mail: tkent@lemberglaw.com
 5
 6 Of Counsel to
   Lemberg Law, LLC
 7
   43 Danbury Road
 8 Wilton, CT 06897
   Telephone: (203) 653-2250
 9
   Facsimile: (203) 653-3424
10
11 Attorneys for Plaintiff,
   Rebecca Verner
12
13
                            UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15                                EASTERN DIVISION
16
17 Rebecca Verner,                               Case No.:
18
                        Plaintiff,               COMPLAINT FOR DAMAGES
19
20         vs.                                   FOR VIOLATIONS OF:
                                                  1. THE FAIR DEBT COLLECTION
21
     Thunderbird Collection Specialists, Inc.,    PRACTICES ACT; AND
22                                                2. THE ROSENTHAL FAIR DEBT
                        Defendant.                COLLECTION PRACTICES ACT
23
24                                               JURY TRIAL DEMANDED
25
26
27
28
Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 2 of 7 Page ID #:2



 1         Plaintiff, Rebecca Verner (hereafter “Plaintiff”), by undersigned counsel, brings
 2
     the following complaint against Thunderbird Collection Specialists, Inc. (hereafter
 3
 4 “Defendant”) and alleges as follows:
 5                                      JURISDICTION
 6
           1.     This action arises out of Defendant’s repeated violations of the Fair Debt
 7
 8 Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and repeated
 9 violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788,
10
   et seq. (“Rosenthal Act”).
11
12         2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d), Cal. Civ.
13 Code 1788.30(f), 28 U.S.C. § 1331 and 28 U.S.C. § 1367.
14
        3.    Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where
15
16 the acts and transactions giving rise to Plaintiff’s action occurred in this district and/or
17
     where Defendant transacts business in this district.
18
19                                          PARTIES

20         4.     Plaintiff is an adult individual residing in Joshua Tree, California, and is
21
     a “person” as defined by 47 U.S.C. § 153(39) and Cal Civ. Code § 1788.2(g).
22
23         5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3), and is a

24 “debtor” as defined by Cal. Civ. Code § 1788.2(h).
25
           6.     Defendant is a business entity located in Scottsdale, Arizona, and is a
26
27 “person” as the term is defined by 47 U.S.C. § 153(39) and Cal Civ. Code §
28 1788.2(g).


                                                 2
                                                              COMPLAINT FOR DAMAGES
Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 3 of 7 Page ID #:3



 1         7.     Defendant uses instrumentalities of interstate commerce or the mails in a
 2
     business the principle purpose of which is the collection of debts and/or regularly
 3
 4 collects or attempts to collect debts owed or asserted to be owed to another, and is a
 5 “debt collector” as defined by 15 U.S.C.§ 1692a(6).
 6
         8.     Defendant, in the ordinary course of business, regularly, on behalf of
 7
 8 itself or others, engages in the collection of consumer debts, and is a “debt collector”
 9
     as defined by Cal. Civ. Code § 1788.2(c).
10
11                  ALLEGATIONS APPLICABLE TO ALL COUNTS
12
           9.     Plaintiff is a natural person allegedly obligated to pay a debt asserted to
13
14 be owed to a creditor other than Defendant.
15
           10.    Plaintiff’s alleged obligation arises from a transaction in which property,
16
17 services or money was acquired on credit primarily for personal, family or household
18 purposes, is a “debt” as defined by 15 U.S.C. § 1692a(5), and is a “consumer debt” as
19
     defined by Cal. Civ. Code § 1788.2(f).
20
21         11.    At all times mentioned herein where Defendant communicated with any
22 person via telephone, such communication was done via Defendant’s agent,
23
   representative or employee.
24
25         12.    Defendant contacted Plaintiff in an attempt to collect a debt.
26
           13.    Within the past year, Defendant repeatedly called Plaintiff in an attempt
27
     to collect a debt and left multiple voice messages on Plaintiff’s answering system.
28


                                                 3
                                                              COMPLAINT FOR DAMAGES
Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 4 of 7 Page ID #:4



 1         14.    In its voice messages, Defendant failed to inform Plaintiff that the call
 2
     was from a debt collector and that Defendant was calling in an attempt to collect a
 3
 4 debt.
 5         15.    On or about October 18, 2017, during a live conversation, Plaintiff told
 6
     Defendant that she refuses to pay the alleged debt and requested that Defendant stop
 7
 8 calling.
 9
           16.    Nevertheless, Defendant continued to call Plaintiff for no purpose other
10
11 than to harass and annoy Plaintiff.
12         17.    In addition, Defendant threatened to file a legal action against Plaintiff if
13
     Plaintiff failed to make a payment towards the alleged debt.
14
15         18.    Defendant’s actions caused Plaintiff to suffer a significant amount of
16 stress, anxiety and frustration.
17
18                                          COUNT I
19
       VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT, 15
20                         U.S.C. § 1692, et seq.
21
           19.    Plaintiff incorporates by reference all of the above paragraphs of this
22
23 complaint as though fully stated herein.
24         20.    The FDCPA was passed in order to protect consumers from the use of
25
     abusive, deceptive and unfair debt collection practices and in order to eliminate such
26
27 practices.
28


                                                 4
                                                              COMPLAINT FOR DAMAGES
Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 5 of 7 Page ID #:5



 1         21.     Defendant attempted to collect a debt from Plaintiff and engaged in
 2
     “communications” as defined by 15 U.S.C. § 1692a(2).
 3
 4         22.     Defendant engaged in conduct, the natural consequence of which was to
 5 harass, oppress, or abuse Plaintiff, in connection with the collection of a debt, in
 6
   violation of 15 U.S.C. § 1692d.
 7
 8         23.     Defendant caused Plaintiff’s phone to ring or engaged Plaintiff in
 9
     telephone conversations repeatedly or continuously, with the intent to annoy, abuse
10
11 and harass Plaintiff, in violation of 15 U.S.C. § 1692d(5).
12         24.     Defendant used false, deceptive, or misleading representations or means
13
     in connection with the collection of a debt, in violation of 15 U.S.C. § 1692e.
14
15         25.     Defendant threatened to take action that could not be legally taken or that
16 Defendant did not intend to take, in violation of 15 U.S.C. § 1692e(5).
17
        26. Defendant’s agent communicated with Plaintiff and failed to disclose that
18
19 he was a debt collector and/or that he was attempting to collect a debt, in violation of
20
     15 U.S.C. § 1692e(11).
21
           27.     The foregoing acts and/or omissions of Defendant constitute numerous
22
23 and multiple violations of the FDCPA, including every one of the above-cited
24
     provisions.
25
26         28.     Plaintiff has been harmed and is entitled to damages as a result of

27 Defendant’s violations.
28


                                                 5
                                                              COMPLAINT FOR DAMAGES
Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 6 of 7 Page ID #:6



 1                                          COUNT II
 2
           VIOLATIONS OF THE ROSENTHAL FAIR DEBT COLLECTION
 3                PRACTICES ACT, Cal. Civ. Code § 1788, et seq.
 4
           29.     Plaintiff incorporates by reference all of the above paragraphs of this
 5
 6 complaint as though fully stated herein.
 7         30.     The Rosenthal Act was passed to prohibit debt collectors from engaging
 8
     in unfair and deceptive acts and practices in the collection of consumer debts.
 9
10         31.     Defendant caused Plaintiff’s telephone to ring repeatedly or continuously
11 to annoy Plaintiff, in violation of Cal. Civ. Code § 1788.11(d).
12
         32. Defendant communicated with Plaintiff with such frequency as to be
13
14 unreasonable, constituting harassment, in violation of Cal. Civ. Code § 1788.11(e)
15
           33.     Defendant falsely represented that a legal proceeding had been or was
16
17 about to be instituted unless the alleged consumer debt was paid, in violation of Cal.
18 Civ. Code § 1788.13(j).
19
           34.     Defendant did not comply with the provisions of 15 U.S.C. § 1692, et
20
21 seq., in violation of Cal. Civ. Code § 1788.17.
22         35.     Plaintiff was harmed and is entitled to damages as a result of Defendant’s
23
     violations.
24
25
                                    PRAYER FOR RELIEF
26
           WHEREFORE, Plaintiff prays for judgment against Defendant for:
27
28                 A. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1);


                                                 6
                                                              COMPLAINT FOR DAMAGES
Case 5:18-cv-00063-JGB-SHK Document 1 Filed 01/11/18 Page 7 of 7 Page ID #:7



 1             B. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);
 2
               C. Actual damages pursuant to Cal. Civ. Code § 1788.30(a);
 3
 4             D. Statutory damages of $1,000.00 for knowingly and willfully committing
 5                violations pursuant to Cal. Civ. Code § 1788.30(b);
 6
               E. Costs of litigation and reasonable attorneys’ fees pursuant to 15 U.S.C.
 7
 8                § 1692k(a)(3) and Cal. Civ. Code § 1788.30(c);
 9
               F. Punitive damages; and
10
11             G. Such other and further relief as may be just and proper.

12
                  TRIAL BY JURY DEMANDED ON ALL COUNTS
13
14
15
     DATED: January 11, 2018                  TRINETTE G. KENT
16
17                                           By: /s/ Trinette G. Kent
                                             Trinette G. Kent, Esq.
18                                           Lemberg Law, LLC
19                                           Attorney for Plaintiff, Rebecca Verner
20
21
22
23
24
25
26
27
28


                                              7
                                                          COMPLAINT FOR DAMAGES
